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     Attorneys for Defendants Kaiser Aluminum
 8   Washington, LLC and Kaiser Aluminum
     Fabricated Products, LLC
 9
10
11                      UNITED STATES DISTRICT COURT
12                     EASTERN DISTRICT OF WASHINGTON

13
     MICHELLE ANDERSON, an individual,
14
                                                   No.
15                                    Plaintiff,
           vs.                                     DECLARATION OF JOHN DONNAN
16                                                 IN SUPPORT OF NOTICE OF
17   KAISER ALUMINUM WASHINGTON,                   REMOVAL
     LLC, a foreign corporation doing business
18   in the State of Washington; KAISER
     ALUMINUM FABRICATED
19
     PRODUCTS, LLC, a foreign corporation
20   doing business in the State of Washington;
     "JOHN DOE I-V" employees, agents,
21   and/or independent contractors of KAISER
22   ALUMINUM WASHINGTON, LLC
     and/or KAISER ALUMINUM
23
24
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 1   FABRICATED PRODUCTS, LLC; and
     "UNKNOWN BUSINESS ENTITIES I-
 2
     V", jointly and severally,
 3                              Defendants.
 4
 5            JOHN DONNAN declares as follows:

 6            1.   I am the Chief Administrative Officer and General Counsel for Kaiser
 7
     Aluminum Corporation, which is the parent company for all Kaiser Aluminum
 8
     entities.
 9
10            2.   I have personal knowledge of the business structure of Kaiser

11   Aluminum Corporation and all Kaiser Aluminum entities.
12
              3.   Kaiser Aluminum Washington, LLC is a Delaware limited liability
13
     company with its principal place of business in California. Its sole member is Kaiser
14
15   Aluminum Fabricated Products, LLC, a Delaware limited liability company with its

16   principal place of business in California. The sole member does not reside in
17
     Washington State.
18
              4.   The sole member of Kaiser Aluminum Fabricated Products, LLC is
19
20   Kaiser Aluminum Investments Company, a Delaware corporation with its principal

21   place of business in California. The sole member does not reside in Washington
22
     State.
23
24
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       Case 2:21-cv-00180-TOR     ECF No. 1-2    filed 06/01/21   PageID.37 Page 4 of 4




 1                            CERTIFICATE OF SERVICE
 2
           I hereby certify that on the 1st day of June, 2021, I caused the foregoing to be
 3
     served on the following parties in the manner indicated:
 4
 5   Matthew F. Duggan                             VIA REGULAR MAIL
     GLP Attorneys, P.S., Inc.                     VIA CERTIFIED MAIL
 6   601 W. Main Ave., Suite 305                   HAND DELIVERED
     Spokane, WA 99201                             BY FACSIMILE
 7
                                                   VIA EMAIL
 8   Attorney for Plaintiff
 9
10
                                            s/Patrick J. Cronin
11                                          PATRICK J. CRONIN, WSBA #28254
                                            BENJAMIN H. RASCOFF, WSBA #45197
12
                                            WINSTON & CASHATT, LAWYERS
13                                          Attorneys for Defendants Kaiser Aluminum
                                            Washington, LLC and Kaiser Aluminum
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